          Case 2:20-cv-00182-JM Document 99 Filed 10/13/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

CHRISTOPHER ALLEN THORNSBERRY                                                     PLAINTIFF
ADC #169180

V.                                NO. 2:20-cv-00182-JM-ERE

GARY R. KERSTEIN, et al.                                                        DEFENDANTS

                                         JUDGMENT

       Consistent with the Order entered on this day, this case is dismissed. All relief sought is

denied, and the case is closed.

       Dated this 13th day of October, 2021.



                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE
